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 5
                        UNITED STATES DISTRICT COURT
 6
                             DISTRICT OF NEVADA
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 8

 9    UNITED STATES OF AMERICA,           )
                                          )            2:10-CR-476-KJD-GWF
10                      Plaintiff,        )
                                          )            MOTION TO CONTINUE SENTENCING
11          vs.                           )            HEARING AND GOVERNMENT’S
                                          )            DEADLINE FOR FILING A RESPONSE
12    JOSE ALONZO VIERA-TORREZ,           )            TO DEFENDANT’S SENTENCING
                                          )            MEMORANDUM
13                      Defendant.        )
      ____________________________________)
14
              The United States of America, by and through DANIEL G. BOGDEN, United States
15
      Attorney, and PAMELA A. MARTIN, Assistant United States Attorney, hereby move this Court
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      to continue the sentencing, currently set for August 31, 2011, at the hour of 9:00 a.m., for sixty
17
      (60) days, or to a date and time to be set by this Honorable Court.
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              This motion is entered into based on the following:
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              1.       On August 25, 2011, Defendant filed a Sentencing Memorandum. Due to the
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      arguments and objections set forth by the Defendant, the Government requires additional time to
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      adequately prepare its response. Additionally, defense counsel may wish for additional time to
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      file a reply to the Government's response. Although couched in the terms as a “sentencing
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      memorandum” the defense clearly has filed objections to the PSR. The defense includes objecting
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      to the prior conviction, criminal history category, as well as demanding that the Government prove
25
      up the prior conviction. Further, the defense although stating that they are not moving for a
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 1    departure or variance under 3553, proceeds to argue that this court should depart downward or

 2    find a variance sua sponte. This appears to violate the plea agreement.

 3            2.      Government counsel spoke with defense counsel, Mark Bailus, Esq., and Mr.

 4    Bailus indicated that he cannot agree to a continuance as his client wants to go forward with his

 5    sentencing. Mr. Bailus also stressed that he was not moving for a downward departure or variance

 6    and in no way was trying to violate the plea agreement.

 7            3.      The Government would request that the sentencing memorandum be stricken as

 8    not filed timely because it is in fact objections to the PSR. In the alternative the Government

 9    requests time to respond to the objections and allow the probation department to respond as well.

10            4.      This is the Government's first motion for a continuance of the sentencing and

11    response deadline. The parties have stipulated to one prior continuance of the sentencing at the

12    request of the defendant..

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14                    DATED this 26TH day of August, 2011.

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16                                                   Respectfully Submitted,

17                                                   DANIEL G. BOGDEN
                                                     United States Attorney
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19
                                                     /S/ Pamela A. Martin
20                                                   ________________________________________
                                                     PAMELA A. MARTIN
21                                                   Assistant United States Attorney

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 4                     UNITED STATES DISTRICT COURT
 5                          DISTRICT OF NEVADA
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 8
      UNITED STATES OF AMERICA,           )
 9                                        )
                        Plaintiff,        ) 2:10-CR-476-KJD-GWF
10                                        )
            vs.                           )
11                                        ) ORDER
      JOSE ALONSO VIERA-TORREZ,           )
12                                        )
                        Defendant.        )
13    ____________________________________)

14

15             BASED upon good cause appearing,

16             IT IS HEREBY ORDERED that the sentencing hearing in the above-captioned matter

17    currently scheduled for August 31, 2011, at the hour of 9:00 a.m., be vacated and continued to
       December 7                                        9 am
18    _______________________,     2011, at the hour of ________________.

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20             DATED this _____ day of August, 2011.

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                                                    ________________________________________
23                                                  UNITED STATES DISTRICT JUDGE

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